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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AARON PRY, individually and on behalf of
all others similarly situated,
                                                     Case No.: 23 CV 4541
                  Plaintiff,
                                                     AMENDED COMPLAINT
      v.

AUTO-CHLOR SYSTEM, LLC and AUTO-
CHLOR SYSTEM OF NEW YORK CITY
INC.,

                  Defendants.


       Aaron Pry (“Plaintiff”), individually and on behalf of all others similarly situated, alleges

as follows:

                                 NATURE OF THE ACTION

       1.      This lawsuit seeks to recover untimely wage compensation for Plaintiff and

similarly situated non-exempt hourly positions performing physical labor, including but not

limited to service and sales representatives, installers, service technicians, and trainees for the

aforementioned positions (collectively, “Manual Workers”), who work or have worked for Auto-

Chlor System, LLC and/or Auto-Chlor System of New York City Inc. (collectively, “Auto-

Chlor” or “Defendants”) at Defendants’ New York State locations.
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        2.    Upon information and belief, during the relevant statute of limitations period

Defendants have employed over one hundred (100) Manual Workers in New York State.

        3.    At all relevant times, Defendants have compensated Plaintiff and all other Manual

Workers on a biweekly basis.

        4.    Despite being manual workers, Defendants have failed to properly pay Plaintiff

and other Manual Workers their wages within seven calendar days after the end of the week in

which those wages were earned.

        5.    In this regard, Defendants have failed to provide timely wages to Plaintiff and all

other similar Manual Workers and has taken unlawful deductions from their wages.

        6.    Plaintiff brings this action on behalf of himself and all other similar Manual

Workers in New York pursuant to Federal Rule of Civil Procedure 23 (“Rule 23”) to remedy

violations of the New York Labor Law (“NYLL”), Article 6, § 191.

                                       THE PARTIES

Plaintiff

        7.    Aaron Pry (“Plaintiff”) is an adult individual who is a citizen of the State of New

York.

        8.    Plaintiff was employed by Defendants as service and sales representative from

approximately March 27, 2023 to April 26, 2023.

        9.    Plaintiff was a covered employee within the meaning of the NYLL.

Defendant

        10.   Defendant Auto-Chlor System, LLC (“Auto-Chlor LLC”) is a foreign limited

liability company organized and existing under the laws of Delaware and doing business as

Auto-Chlor System.




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       11.     As described on its website, Auto-Chlor System is a “dishwashing machine,

laundry service, and chemical supply specialist to the hospitality, healthcare, and lodging

industry[.]” Among other things, the company manufactures, leases, and services dishwashing

machine.

       12.     As set forth in the most recent statement of information submitted by Defendant

to the California Secretary of State, Auto-Chlor LLC’s principal office is located in Memphis,

Tennessee, and its mailing address is located at 450 Ferguson Drive, Mountain View, California.

The Mountain View location is Defendant’s corporate office.

       13.     Upon information and belief, Defendant’s members are the Edward J. Ivy

Descendants’ Trust (“E. Ivy Trust”) and/or the Jerry L. Ivy Separate Property Revocable Trust

(“J. Ivy Trust”). The trustee of the E. Ivy Trust is Edward J. Ivy, and the trustee of the J. Ivy

Trust is Jerry Ivy, Sr. Jerry Ivy, Sr. and Edward J. Ivy are both citizens of California.

       14.     Defendant is run by members of the Ivy family. Edward J. Ivy is Defendant’s

CEO, and Deborah Ivy, the wife of Jerry Ivy, Sr., is the company’s secretary-treasurer.

       15.     Edward J. Ivy attested in a declaration submitted in litigation in California that he

and Deborah Ivy are “intrinsically involved in the day to day operations” of Auto-Chlor LLC.

According to the employee handbook Plaintiff received, this involvement “include[s] all facets

of the business from providing vision and direction to support of everyday activity at the

branches.”

       16.     The company name on the paychecks Plaintiff received for his work for

Defendants is “Auto Chlor System.” Upon information and belief, that is a d/b/a rather than a

formal business entity name.




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       17.     The address for Auto Chlor System listed on Plaintiff’s paychecks is 450

Ferguson Drive, Mountain View, CA 94043-5214.

       18.     Auto-Chlor LLC is the master dealer for the Auto-Chlor brand.

       19.     While the Auto-Chlor brand has a national presence, many of the South,

Southwest, and Midwest states are serviced by independently owned dealers (i.e., dealers not

owned by the Ivy family). These dealers are specifically identified on the www.autochlor.com

website. New York is not one of the states served by an independently owned dealer.

       20.     Upon information and belief, in the remainder of the country, including New

York, the Auto-Chlor brand is represented by Auto-Chlor LLC or other business entities owned

and controlled by the Ivy family. These businesses, including both Defendants, are part of a

single integrated enterprise that employed Plaintiff.

       21.     Defendant Auto-Chlor System of New York City, Inc. (“Auto-Chlor NYC”) is a

California corporation that identifies its principal executive office as 450 Ferguson Drive,

Mountain View, California. Auto-Chlor NYC's principal place of business is in Mountain View

California or Carlstadt, New Jersey.

       22.     In a filing with the California Secretary of State, Auto-Chlor NYC identified its

CEO and director as Jerry Ivy, its secretary as Deborah Ivy, and its CFO as Ed Ivy.

       23.     The employee handbook that Plaintiff received states, “Auto-Chlor System has 51

branches and nearly 800 employees and tens of thousands of accounts.            In 2008 the Ivy

dealership group purchased the parent company of Auto-Chlor System, located in Memphis.”

Upon information and belief, it was Auto-Chlor LLC that purchased the parent company.

       24.     Under the heading, “Our Size and Scope of Business,” the handbook identifies

five regions with branches – Northwest, California, Arizona, New York (which also includes




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New Jersey, Connecticut, Baltimore, and Massachusetts), and Mid-South – as well as a

manufacturing plant in Memphis, a chemical plant in Atlanta, and the corporate office in

Mountain View, California.

        25.    Reflecting the common control over Defendants and the Ivy family’s other Auto-

Chlor business entities, the handbook further states, “Jerry, his wife Debbie, and his son Ed are

all involved in the business. Ed plays a key role in growing both the corporate and regional

businesses as the President of Auto-Chlor system. Their activities include all facets of the

business from providing vision and direction to support of everyday activity at the branches.”

        26.    Upon information and belief, the employee handbook that Plaintiff received is

applicable to all of the Ivy family’s Auto-Chlor entities. It contains two form confidentiality

agreements that new employees are required to sign, one for California employees, and one for

employees outside of California.

        27.    Similarly, although Plaintiff worked exclusively in New York, the employee

handbook contains numerous references to rights and obligations under California law.

        28.    Defendants maintain a corporate human resources office in Mountain View that

manages human resources functions for all branches.          For example, Plaintiff received a

termination letter from Defendants’ director of human resources.

        29.    The employee handbook provides that employees may make discrimination

complaints to the director of human resources.

        30.    The corporate human resources office also processes employee requests to review

personnel records.

        31.    The Auto-Chlor website also includes job listings for many states, including New

York.




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       32.     Defendants were and are covered employers within the meaning of the NYLL,

and at all times relevant, employed Plaintiff and similar employees.

       33.     Defendants have maintained control, oversight, and direction over Plaintiff and

similar employees, including timekeeping, payroll, and other employment practices that applied

to them.

       34.     Defendants apply the same employment policies, practices, and procedures to all

Manual Workers in its operation, including policies, practices, and procedures with respect to

payment of wages.

                                JURISDICTION AND VENUE

       35.     This Court has original jurisdiction pursuant to the Class Action Fairness Act of

2005 (“CAFA”), codified at 28 U.S.C. § 1332(d), because the amount in controversy against the

Defendant in this matter exceeds the sum or value of $5,000,000, exclusive of interest and costs.

       36.     The great majority, if not all, members of the proposed class are citizens of states

different from that of Defendants.

       37.     There are over 100 members in the proposed class.

       38.     Defendants are subject to personal jurisdiction in New York.

       39.     Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the claims

occurred in this District, and Defendants conduct business in this District.

                              CLASS ACTION ALLEGATIONS

       40.     Plaintiff brings the NYLL claim, under Rule 23 of the Federal Rules of Civil

Procedure, on behalf of himself and a class of persons consisting of:

               All persons who work or have worked as Manual Workers for
               Defendants in New York between the date six years before the



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               commencement of this action and the date of final judgment in this
               matter (the “Class”).

       41.     The members of the Class are so numerous that joinder of all members is

impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

       42.     Upon information and belief, Defendants have employed more than 100 Manual

Workers in New York during the six years prior to the filing of this action.

       43.     Plaintiff’s claims are typical of those claims that could be alleged by any member

of the Class, and the relief sought is typical of the relief which would be sought by each member

of the Class in separate actions.

       44.     Plaintiff and the Class have all been injured in that they have been compensated in

an untimely manner and have been subject to unlawful deductions due to Defendants’ common

policies, practices, and patterns of conduct. Defendants’ corporate-wide policies and practices

affected everyone in the Class similarly, and Defendants benefited from the same type of unfair

and/or wrongful acts as to each member of the Class.

       45.     Plaintiff is able to fairly and adequately protect the interests of the Class and has

no interests antagonistic to the Class.

       46.     Plaintiff is represented by attorneys who are experienced and competent in both

class action litigation and employment litigation and have previously represented many plaintiffs

and classes in wage and hour cases.

       47.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendant. Class action treatment will permit a large number of similar persons to




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prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

        48.    Common questions of law and fact exist as to the Class that predominate over any

questions only affecting Plaintiff and/or each member of the Class individually and include, but

are not limited to, whether Defendants compensated Plaintiff and the Class on a timely basis.

                                 FACTUAL ALLEGATIONS

        49.    Consistent with its policies and patterns or practices as described herein,

Defendants harmed Plaintiff, individually, as follows:

        50.    Plaintiff was employed by Defendants as a Service and Sales Representative

based out of Defendants’ Bronx, NY branch.

        51.    In that capacity, Plaintiff spent more than twenty-five percent of his worktime

performing physical labor, including loading tools, parts, equipment, and containers of chemicals

into a company vehicle; carrying tools, parts, equipment, and containers of chemicals into

customers’ locations; and repairing customers’ equipment.

        52.    Other Manual Workers similarly spent more than twenty-five percent of their

worktime performing physical labor, including the aforementioned tasks and installing,

dismantling, rebuilding, and refurbishing commercial dishwasher machines.

        53.    Despite regularly spending more than twenty-five percent of his shift performing

these physical tasks, Defendant paid Plaintiff on a biweekly basis. For example, the paycheck

issued to Plaintiff on April 14, 2023 covered the two-week period of March 26, 2023 to April 8,

2023.




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       54.     Thus, even though Plaintiff worked the week of March 26, 2023 to April 1, 2023,

Defendants failed to pay Plaintiff his wages earned in that week by April 8, 2023, as required by

NYLL 191(1)(a).

       55.     Every time that Defendants failed to pay Plaintiff his wages earned within seven

days of the end of the workweek, Defendants deprived him of the use of money that belonged to

him. As a result, Plaintiff was unable to do those things that every person does with their money,

such as paying bills or buying goods that he needed or wanted to buy. Moreover, by retaining

money that belonged to Plaintiff, Plaintiff lost the time value of money.

       56.     Defendants committed the foregoing violations against Plaintiff and the Class. To

be sure, the employee handbook that Defendants provided to Plaintiff states that all employees

are paid on a biweekly basis.

                            FIRST CAUSE OF ACTION
       New York Labor Law – Failure to Pay Timely Wages/Deductions from Wages
                    (Brought on behalf of Plaintiff and the Class)

       57.     Plaintiff, on behalf of himself and the members of the Class, realleges and

incorporates by reference all allegations in all preceding paragraphs.

       58.     The timely payment of wages provision NYLL § 191 and its supporting

regulations apply to Defendants and protect Plaintiff and the Class.

       59.     Defendants failed to pay Plaintiff and the Class on a timely basis as required by

NYLL § 191(1)(a).

       60.     Defendants’ failure to timely pay wages violated both NYLL § 191 and NYLL §

193’s bar on deductions from wages.

       61.     Due to Defendants’ violations of the NYLL, Plaintiff and the Class are entitled to

recover from Defendants the amount of their untimely paid/deducted wages as liquidated




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damages, reasonable attorneys’ fees and costs, and pre-judgment and post-judgment interest as

provided for by NYLL § 198.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually, and on behalf of all other similar persons,

respectfully requests that this Court grant the following relief:

       A.      Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

               of Civil Procedure;

       B.      Designation of Plaintiff as representative of the NY Rule 23 Class and counsel of

               record as Class Counsel;

       C.      Liquidated damages permitted by law pursuant to the NYLL;

       D.      Pre-judgment and post-judgment interest;

       E.      Reasonable attorneys’ fees and costs of the action; and

       F.      Such other relief as this Court shall deem just and proper.



Dated: New York, New York               Respectfully submitted,
       July 5, 2023                     JOSEPH & KIRSCHENBAUM LLP

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